  8:07-cr-00073-LSC-SMB                Doc # 32      Filed: 03/11/08        Page 1 of 1 - Page ID # 40



                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                                   )
                                                            )                8:07CR73
                          Plaintiff,                        )
                                                            )
        vs.                                                 )                 ORDER
                                                            )
EUGENIO CAMACHO-PARRAL,                                     )
                                                            )
                          Defendant.                        )


        This matter is before the court on the motion for an extension of time by defendant Eugenio
Camacho-Parral (Camacho-Parral) (Filing No. 27). Camacho-Parral seeks an additional twenty days in which
to file pretrial motions in accordance with the progression order (Filing No. 21). Camacho-Parral has filed an
affidavit wherein he consents to the motion and acknowledges he understands the additional time may be
excludable time for the purposes of the Speedy Trial Act . Upon consideration, the motion will be granted.


        IT IS ORDERED:

        Defendant Camacho-Parral's motion for an extension of time (Filing No. 27) is granted. Camacho-
Parral is given until on or before March 31, 2008, in which to file pretrial motions pursuant to the progression

order. The ends of justice have been served by granting such motion and outweigh the interests of the public

and the defendant in a speedy trial. The additional time arising as a result of the granting of the motion, i.e.,

the time between March 11, 2008 and March 31, 2008, shall be deemed excludable time in any computation

of time under the requirement of the Speedy Trial Act for the reason defendant's counsel requires additional
time to adequately prepare the case, taking into consideration due diligence of counsel, and the novelty and
complexity of this case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C.
§ 3161(h)(8)(A) & (B).


        DATED this 11th day of March, 2008.
                                                            BY THE COURT:
                                                            s/ Thomas D. Thalken
                                                            United States Magistrate Judge
